Case 5:07-cr-50010-TLB Document 84           Filed 11/09/20 Page 1 of 6 PageID #: 1217




                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

V.                           CASE NO. 5:07-CR-50010-001

MICHAEL FORTINO                                                             DEFENDANT

                                 OPINION AND ORDER

      Currently before the Court is Defendant Michael Fortino’s pro se Motion for

Compassionate Release and accompanying supplements (Docs. 57, 59, 64, 73, 74). The

Government filed a Response and submitted Mr. Fortino’s medical records (Docs. 65, 66,

67). Mr. Fortino also filed a Reply (Doc. 72). The Court later appointed the Federal Public

Defender to consider Mr. Fortino’s Motion and to file any supplemental briefing that it

deemed necessary. Public Defender Anna Williams then filed a Notice indicating that no

additional supplements would be forthcoming (Doc. 83). Now that the Motion is ripe, the

Court finds that it should be DENIED for the reasons explained below.

                                   I. BACKGROUND

      On October 2, 2007, Mr. Fortino pleaded guilty to a one-count information for

knowing transportation of child pornography in interstate and foreign commerce by

computer. At sentencing, the Court considered written letters of support presented by

Mr. Fortino that urged the Court to be lenient. One such submission was from the minor

victim’s family and another was from an individual with whom Mr. Fortino had a child.

After considering these materials, the Court sentenced Mr. Fortino at the bottom of his

Guideline range to 135 months, the bottom of the Guideline range, 20 years of supervised

release, a fine of $10,000.00, and a special assessment of $100.00 (Doc. 15). Three




                                            1
Case 5:07-cr-50010-TLB Document 84             Filed 11/09/20 Page 2 of 6 PageID #: 1218




days later, the Government filed a motion to vacate the sentence (Doc. 18) in which it

argued that Mr. Fortino forged the correspondence from the victim’s family and from his

former partner. The Court held a hearing on this motion and found that Mr. Fortino had

committed a fraud on the Court. The Court then issued an order vacating Mr. Fortino’s

original sentence (Doc. 22) and entered an amended judgment in which it sentenced him

to 240 months’ imprisonment, supervised release for life, a $250,000.00 fine, and a

$100.00 special assessment (Doc. 27). Mr. Fortino appealed the amended judgment,

and the Eighth Circuit affirmed (Doc. 34-1).

       Now, Mr. Fortino seeks compassionate release or a reduction of his sentence to

home confinement pursuant to the First Step Act.          He alleges that the COVID-19

pandemic, in conjunction with his high cholesterol and latent tuberculosis, constitute

extraordinary and compelling reasons that justify his early release. Mr. Fortino is currently

housed at FCI Seagoville, and he alleges that the protocols imposed at that facility are

insufficient to prevent the spread of COVID-19. Notably, however, the BOP reports that

at present there are only 10 inmates and one staff member with active cases of COVID-

19 at FCI Seagoville out of a population of 1,755 total inmates. See Fed. Bureau of

Prisons, COVID-19 Coronavirus, https://www.bop.gov/coronavirus/ (last accessed

Nov. 2, 2020); Fed. Bureau of Prisons, FCI Seagoville, https://www.bop.gov/locations/in

stitutions/sea/ (last accessed Nov. 2, 2020).

                                 II. LEGAL STANDARD

       Mr. Fortino’s request for reduction of sentence and compassionate early release

is made pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) and the First Step Act of 2018 (the

“FSA”). In the past, 18 U.S.C. § 3582(c)(1)(A) permitted a court to reduce a defendant’s




                                               2
Case 5:07-cr-50010-TLB Document 84            Filed 11/09/20 Page 3 of 6 PageID #: 1219




term of imprisonment only upon the motion of the Director of BOP. The FSA modified

§ 3582(c)(1)(A) such that a defendant may now directly petition the court “after the

defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from the

receipt of such a request by the warden of the defendant’s facility, whichever is

earlier.” See Mohrbacher v. Ponce, 2019 WL 161727, at *1 (C.D. Cal. Jan. 10, 2019)

(discussing modifications made to § 3582(c)(1)(A) by the FSA); see also United States v.

Perez-Asencio, 2019 WL 626175, at *2–3 (S.D. Cal. Feb. 14, 2019).

       If a defendant fully exhausts administrative remedies, the court may, upon motion

of the defendant, reduce the defendant’s sentence, after considering the factors set forth

in 18 U.S.C. § 3553(a) to the extent they are applicable, if the court finds that:

       (i)    extraordinary and compelling reasons warrant such a reduction; or

       (ii)   the defendant is at least 70 years of age, has served at least 30 years
              in prison, pursuant to a sentence imposed under section 3559(c), for
              the offense or offenses for which the defendant is currently
              imprisoned, and a determination has been made by the Director of
              the Bureau of Prisons that the defendant is not a danger to the safety
              of any other person or the community, as provided under section
              3142(g);

              and that such a reduction is consistent with applicable policy
              statements issued by the Sentencing Commission . . . .

18 U.S.C. § 3582(c)(1)(A).         Mr. Fortino does not meet the requirements of

§ 3582(c)(1)(A)(ii) as he is not yet 70 years old, so his only possible avenue for

compassionate release is under § 3582(c)(1)(A)(i).

       The starting point in determining what constitutes “extraordinary and compelling

reasons” under § 3582(c)(1)(A)(i) is United States Sentencing Guideline (“U.S.S.G”)

§ 3B1.13. As is relevant here, Application Note 1(A)(ii)(I) of § 1B1.13 indicates that the



                                              3
Case 5:07-cr-50010-TLB Document 84           Filed 11/09/20 Page 4 of 6 PageID #: 1220




medical condition of the defendant may provide extraordinary and compelling reasons if

the defendant is “suffering from a serious physical or medical condition . . . that

substantially diminishes the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she is not expected to recover.”

Although the Sentencing Commission has not updated nor adopted a new policy

statement since the FSA was enacted, other courts have held that § 1B1.13 and its

application notes provide guidance as to what constitutes extraordinary and compelling

reasons for the purposes of 18 U.S.C. § 3582(c)(1)(A). See, e.g., United States v.

Schmitt, 2020 WL 96904, at *3 (N.D. Iowa Jan. 8, 2020).

                                    III. DISCUSSION

                              A. Exhaustion of Remedies

       The Court’s ability to rule on Mr. Fortino’s Motion is dependent on whether he: (1)

fully exhausted his administrative right to appeal the BOP’s failure to bring a motion for

early release or (2) allowed 30 days to lapse since the warden received his request for

early release, whichever event is sooner. 18 U.S.C. § 3582(c)(1)(A)(i). The Government

presents proof that Mr. Fortino requested compassionate release from his warden and

that such permission was denied on April 10, 2020. See Doc. 65-2. Accordingly, the

Government concedes that Mr. Fortino has exhausted his administrative remedies. Since

Mr. Fortino petitioned his warden for early release on April 10 and because more than 30

days have lapsed since then, the Court finds that Mr. Fortino has satisfied the exhaustion

requirement set forth at 18 U.S.C. § 3582(c)(1)(A)(i).




                                             4
Case 5:07-cr-50010-TLB Document 84            Filed 11/09/20 Page 5 of 6 PageID #: 1221




                               B. Section 3553(a) Factors

       The Court acknowledges that Mr. Fortino may be at an elevated risk of a severe

COVID-19 infection in light of his medical history of latent tuberculosis and high

cholesterol. But even so, he is not a suitable candidate for early release considering the

Section 3553(a) factors. Section 3582(c)(1) requires the court to consider the factors set

forth in 18 U.S.C. § 3553(a) before granting a motion for compassionate release. The

circumstances of this case include the fact that Mr. Fortino was originally sentenced to

135 months’ imprisonment, but that sentence was vacated because he forged a letter

from the family of a minor victim in an attempt to convince the Court to impose a more

lenient sentence. Due to this fraud upon the Court, Mr. Fortino’s original sentence was

vacated and he was sentenced to 240 months’ imprisonment. This is extremely serious

conduct that weighs against early release. Indeed, Mr. Fortino’s prior behavior makes it

difficult for the Court to credit the representations regarding rehabilitation or cooperation

made in his Motion and supplements. Further, counting from the date of his original

judgment, it appears that Mr. Fortino has now served approximately 156 months—or

approximately 65%—of his 240-month sentence of imprisonment. In the Court’s view,

this amount of time is insufficient to reflect the seriousness of his offense conduct, to

promote respect for the law, and to afford adequate deterrence to those who would seek

to engage in similar criminal activities. Additionally, allowing Mr. Fortino to complete his

prison sentence in 156 months would create a significant disparity with other defendants

who have been held responsible for similar offenses. In sum, after considering and

weighing all of the Section 3553(a) factors, the Court continues to find that a sentence of

240 months is just and fair under the totality of the circumstances.




                                             5
Case 5:07-cr-50010-TLB Document 84           Filed 11/09/20 Page 6 of 6 PageID #: 1222




      For these reasons, even assuming Mr. Fortino has demonstrated extraordinary

and compelling medical reasons justifying a reduction of his sentence, the Court finds

that the Section 3553(a) factors do not justify compassionate release of Mr. Fortino. 1

                                   IV. CONCLUSION

      IT IS THERFORE ORDERED that Michael Fortino’s pro se Motion for

Compassionate Release is DENIED.

      IT IS SO ORDERED on this 9th day of November, 2020.




                                                TIMOTHY L. BROOKS
                                                UNITED STATES DISTRICT JUDGE




1  To the extent Mr. Fortino asks to serve the remainder of his sentence in home
confinement, the First Step Act gives only the BOP—not the Court—the power to decide
where Mr. Fortino serves his sentence. See 18 U.S.C. §§ 3624(c)(4), 3621(b).


                                            6
